                      Case 1:16-cv-08354-VEC Document 182 Filed 01/12/21 Page 1 of 2




                                             THE CITY OF NEW YORK
JAMES E. JOHNSON                            LAW DEPARTMENT                                         CAROLYN E. KRUK
Corporation Counsel                             100 CHURCH STREET                                    cell: (646) 939-7631
                                                NEW YORK, NY 10007                                   ckruk@law.nyc.gov



                                                                             January 12, 2021


        By ECF

        Hon. Ona. T. Wang                                              MEMO ENDORSED
        United States Magistrate Judge
        United States District Court
        500 Pearl Street
        New York, New York 10007

                                Re:   Disabled in Action et al. v. City of New York et al.
                                      16 CV 8354 (VEC)(OTW)

        Dear Magistrate Judge Wang:

                        I am one of the Assistant Corporation Counsels assigned to represent Defendants
        in the above action. I write jointly on behalf of the parties to respectfully request an adjournment
        of the settlement conference currently scheduled for January 19, 2021 to the week of February 8,
        2021, and an extension of the parties’ time to submit ex-parte settlement letters until two days
        before the new conference date. This is the parties’ second request for an adjournment of the
        settlement conference.
                        On December 14, 2020, Defendants provided Plaintiffs with a list of the NYPD’s
        major programs, services, and activities, and the alternate ways in which these programs,
        services, and activities may be offered if they are not currently accessible to people with mobility
        disabilities. Plaintiffs responded to Defendants letter yesterday, as the intervening holidays
        delayed their response. Plaintiffs’ letter included some questions and concerns as to Defendants’
        proposals. To allow Defendants time to consider Plaintiffs’ response, and then meet – at least
        once – with Plaintiffs’ counsel before the parties appear before Your Honor for a settlement
        conference, the parties respectfully request an adjournment of the settlement conference from
        January 19 to the week of February 8, 2021. The parties plan to schedule a call the week of
        February 1, 2021 to discuss settlement, and narrow the issues further. The parties also
        respectfully request permission to submit their ex parte letters two days before the rescheduled
        settlement conference (rather than seven days before the conference).
         Case 1:16-cv-08354-VEC Document 182 Filed 01/12/21 Page 2 of 2




             The parties conferred and confirmed their availability for a settlement conference
before Your Honor on February 10, 11 or 12, 2021, or another later date that is convenient to the
Court.

               Accordingly, the parties respectfully request an adjournment of the settlement
conference from January 19 to February 10, 11, or 12, 2021, and that the parties’ ex-parte letters
be submitted to Your Honor two days before the rescheduled settlement conference.

               Thank you for your consideration of these requests.

                                                            Respectfully,

                                                            /s
                                                            Carolyn Kruk

cc. Plaintiffs’ counsel (by ECF)




  Application GRANTED. The Jan. 19, 2021 pre-settlement conference call is hereby adjourned to Feb. 25,
  2021 at 10:00 am. Dial-in (866) 390-1828, access code 1582687. By 5 pm the day prior, counsel shall
  jointly email Chambers the names and phone numbers of the appearing attorneys. Ex parte letters due by
  10:00 am on Feb. 23, 2021. ECF 181 resolved.

  SO ORDERED.

  /s/ Ona T. Wang Jan. 12, 2021
  U.S.M.J.




                                                2
